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UNITED STATES DISTRICT COURT

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WESTERN DISTRICT OF LOUISIANA

SHREVEPORT DIVISION

 

UNITED STATES OF AMERICA
9:19-cr-00384

Judge Walter

VERSUS Magistrate Judge Hornsby

ICENHOWER OIL and GAS, INC. (01) and
TIM ICENHOWER (02)

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INDICTMENT
THE GRAND JURY CHARGES:

AT ALL TIMES MATERIAL HEREIN

COUNTS 1-18
(Harboring Aliens)
(8 U.S.C. § 1324(a)(1)(A)(iv))

I. BACKGROUND

1. Icenhower Oil and Gas, Inc., is a business incorporated under the
laws of Louisiana. Icenhower Oil and Gas, Inc., is in the business of pipelines and
oilfield construction.

2. Icenhower Oil and Gas, Inc., corporate offices are located in Bossier
City, Louisiana.

3. Tim Icenhower is the owner and president of Iceenhower Oil and

Gas, Inc.
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II. CRIMINAL OFFENSE

Beginning on or on about January 2017 and continuing to no later than the
present, in the Western District of Louisiana the defendants, Icenhower Oil and
Gas, Inc., and Tim Icenhower, did encourage and induce the aliens listed below to
reside in the United States, knowing and in reckless disregard of the fact that such

residence in the United States was in violation of law.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Count(s) Alien (Initials) Location
1 F.A. Bossier City, LA
2 J.Z. Bossier City, LA
3 J.C. Bossier City, LA
4 G.C. Bossier City, LA
5 V.C. Bossier City, LA
6 H.C.O. ‘Bossier City, LA
7 J.G.C. Bossier City, LA
8 N.G. Bossier City, LA
9 J.G. Bossier City, LA
10 A.H. Bossier City, LA
11 J.H. Bossier City, LA
12 E.M. Bossier City, LA
13 J.M. Bossier City, LA
14 J.M. Bossier City, LA
15 R.M. Bossier City, LA

 

 

 

 

 

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16 R.M. Bossier City, LA
17 P.O. Bossier City, LA
18 IM. Bossier City, LA

 

 

 

All in violation of Title 8, United States Code, Section 1324(a)(1)(A)(iv). [8

U.S.C. § 1324(a)(1)(A)(v)].

A TRUE BILL:

REDACTED

GRAND JURY FOREPERSGN

DAVID C. JOSEPH
United States Attorney _-

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EARL M. CAMPBBILL (LA Bar #25957)
Assistant Unit tates Attorney

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